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 5                         UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF WASHINGTON
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 7    GUSTAVO CAMACHO
      RODRIGUEZ FOR THE ESTATE OF                  NO: 1:20-CV-3020-TOR
 8    GUSTAVO CAMACHO,
                                                   ORDER OF DISMISSAL WITH
 9                              Plaintiff,         PREJUDICE

10          v.

11    STRAND ORCHARD, LLC;
      STRAND APPLES, INC.; STRAND-
12    BERNDT MANAGEMENT CO.,
      LLC; STRAND BERNDT LEASE,
13    LLC; STRAND ALLEN, INC.; and
      STRAND APPLES TOO, LLC,
14
                         Defendant.
15         BEFORE THE COURT is the parties’ Stipulated Motion for Dismissal With

16   Prejudice (ECF No. 41). The parties agree that Plaintiff’s claims should be

17   dismissed with prejudice, each party bearing its own costs. The Court has

18   reviewed the record and files herein and is fully informed.

19         According to Rule 41(a)(1)(A)(ii), a plaintiff may dismiss an action by filing

20   a stipulation signed by all parties who have appeared.



     ORDER OF DISMISSAL WITH PREJUDICE ~ 1
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 1   ACCORDINGLY, IT IS HEREBY ORDERED:

 2      1. Pursuant to Rule 41(a)(1)(A)(ii) and the parties’ stipulation, this action is

 3         DISMISSED with prejudice and with each party bearing its own costs.

 4      2. All pending motions, deadlines and hearings are VACATED.

 5         The District Court Executive is directed to enter this Order and Judgment of

 6   Dismissal, furnish copies to counsel, and CLOSE the file.

 7         DATED June 7, 2021.

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 9                                  THOMAS O. RICE
                                 United States District Judge
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     ORDER OF DISMISSAL WITH PREJUDICE ~ 2
